






NO. 07-02-0517-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MAY 13, 2003


______________________________



THE STATE OF TEXAS,




		Appellant


v.



DETRIA MCINTOSH, 




		Appellee

_________________________________



FROM THE 31ST DISTRICT COURT OF HEMPHILL COUNTY;



NO. 2523; HON. STEVEN R. EMMERT, PRESIDING


_______________________________



Memorandum Opinion


_______________________________



Before QUINN, REAVIS and CAMPBELL, JJ.

	The State of Texas (the State) appeals from an order quashing part of an indictment
accusing Detria McIntosh (appellee) of delivering a controlled substance within a drug-free
school zone.  According to the State, as uttered in its sole issue, the trial court erred in
removing that portion of the indictment charging appellee with committing the act within
1000 feet of "premises leased by the Canadian Independent School District . . . ."  We
overrule the point and affirm the order for the following reasons.

	First, the State argued below that the indictment was accurate because the lease
in question involved the lease of educational services from the Canadian School District
by an entity operating a youth boot camp, i.e. that the boot camp was leasing services from
the school district which triggered application of §481.134 of the Texas Health Code. (1)  On
appeal, it argues that the lease was for real property (as opposed to services) by the
Canadian School District from those operating the boot camp.  As can be seen, the
argument asserted below by the State does not comport with that urged on appeal.  Thus,
the issue has not been preserved for review.  Livar v. State, 929 S.W.2d 573, 576 (Tex.
App.--Fort Worth 1996, pet. ref'd) (stating that a complaint urged on appeal that fails to
comport with the complaint urged at trial results in the waiver of the complaint).

	Alternatively, to the extent that the State now argues that the agreement involved
the lease of realty, we also note that it told the trial court that it "would just say, this is a
lease for services."  To the extent it represented to the trial court that the agreement was
actually one for services, it effectively admitted that it was not one for realty and, thereby
disproved its current argument.  Thus, the trial court did not abuse its discretion in granting
the motion to quash.  Thomas v. State, 621 S.W.2d 158, 163 (Tex. Crim. App. 1980)
(stating that the standard of review applicable when reviewing decisions quashing an
indictment is one of abused discretion).

	Accordingly, we affirm the order of the trial court.


							Brian Quinn

							   Justice


Do not publish.

1. Under the provision, the delivery of less than one gram of a controlled substance "in, on or within
1,000 feet of any real property that is owned, rented, or leased to a school or school board" is a felony of the
third degree.  Tex. Health &amp;  Safety Code Ann. §481.134(d) (Vernon 2003) (emphasis added).  As can be
seen, the statute contemplates the lease, ownership or rental of real property.


 attempts to prove that the variance prejudiced
him in any material way, as required by authority.  See Santana v. State, No. 1780-00,
p.12 (Tex. Crim. App. October 31, 2001).  

	Moreover, as alleged in the indictment and described in the jury charge, the
accusations incorporated the elements of aggravated assault as defined in §22.02 of the
Texas Penal Code.  The inclusion of the names of other defendants in the indictment was
unnecessary to aver a crime under that statute. (2)  And, the accusations as described in
both the indictment and jury charge encompassed the same elemental facts illustrating the
same criminal act occurring on the same day and involving the same named victim.  Given
this, one can reasonably conclude that the indictment not only informed appellant of the
accusation against him in a manner sufficient to enable him to prepare a defense but also
that the inclusion of the names of four other co-defendants in the instrument did not subject
appellant to the risk of another prosecution for the same crime.  See Golihar v. State, 46
S.W.3d 243, 257 (Tex. Crim. App. 2001) (holding that a variance is not material or fatal
when the indictment informed the defendant of the charge sufficiently to allow him to
prepare a defense and when it would not subject the defendant to the risk of being
prosecuted later for the same crime).   Consequently, the variance in question was not
material.  Nor was the evidence presented at trial legally insufficient to support conviction
for aggravated assault.        

Accomplice-Witness Rule


	Next, appellant contends that the trial court erred in failing to instruct the jury on the
accomplice witness rule since one or more accomplices appeared and testified against
appellant.  The State concedes that such an instruction should have been provided to the
jury.  However, neither the State nor appellant requested same.  So, to warrant reversal,
the record must show that the error caused appellant egregious harm.  Hutch v.  State, 922
S.W.2d 166, 170-71 (Tex. Crim. App.  1996); Almanza v.  State, 686 S.W.2d 157, 171
(Tex. Crim. App.  1984).  It does not.

	The accomplice witness rule obligated the trial court to inform the jury that a
conviction cannot be based upon the testimony of an accomplice unless corroborated by
other evidence tending to connect the defendant to the crime.  Tex. Code Crim. Proc. Ann.
art. 38.14 (Vernon Supp. 2001).  The record before us is replete with evidence connecting
appellant to the aggravated assault.  Indeed, appellant himself testified that he held and
fired the gun in the direction of Sergio Rodriguez, though allegedly in self-defense.  Given
appellant's own admission which indisputably tied him to the assault, the failure to direct
the jury to find evidence connecting appellant to the crime (in addition to that proffered by
the accomplices) did not egregiously harm him.

Ineffective Assistance of Counsel


	Finally, appellant claims that his trial counsel was ineffective.  This was allegedly
so because counsel represented both appellant and co-defendant Rivas at trial, which joint
representation created a conflict of interest.  We overrule the point.

	While representation of multiple defendants in the same suit may result in the denial
of effective counsel, multiple representation does not per se equate ineffective assistance. 
James v. State, 763 S.W.2d 776, 778 (Tex. Crim. App. 1989).  Moreover, when the
appellant failed to object at trial to multiple representation, as appellant did here, it was
incumbent upon him to show some actual, not speculative, conflict, id. at 778-79, that
adversely affected specific and material instances of counsel's performance.  Monreal v.
State, 947 S.W.2d 559, 564 (Tex. Crim. App. 1997).  Finally, an actual conflict exists when
counsel is required to make a choice between advancing appellant's interests in a fair trial
or advancing those of the other client to the detriment of appellant's.  Id.   

	Here, appellant posited that a conflict arose when the prosecution tendered into
evidence the statement of co-defendant Rivas.  Therein, Rivas identified appellant as the
one who fired the shotgun.  Thus, through the statement, appellant's co-defendant
allegedly helped the State identify appellant as the shooter.  This could be of some import
had no one else provided the same information.  Yet, as appellant acknowledged in his
brief, various accomplice witnesses who were not being tried with appellant also identified
appellant as the shooter.  More importantly, appellant himself stated that he was the one
who discharged the firearm.  Given that Rivas statement was merely cumulative of other
testimony, including that of appellant's, we cannot say that it somehow placed the co-defendants at odds with each other. (3)

	Appellant also suggests that "the fact that co-defendant Rivas was tried in the same
trial denied appellant his right to confront and cross-examine the witness."   How this
created a conflict of interest goes unexplained.  Nevertheless, reason compels that before
the supposed inability to confront and cross-examine could be considered detrimental to
appellant, there must be indication that confrontation and cross-examination would have
garnered information beneficial to appellant.  Yet, the latter does not offer explanation as
to what that helpful information was, assuming arguendo that it even existed.  Nor does
he cite us to anything of record evincing what useful information could have been obtained
through cross-examination.  Consequently, we are being asked to act upon mere
speculation, which we cannot do.

	Appellant also argues that he and his co-defendant were placed "in an adversarial
posture" because appellant testified that Rivas "lied in his statement" when examined by
the State at trial.  Yet, we were not cited, by appellant, to any portion of the record
supporting this contention.  Furthermore, it is not our duty to parse through the record to
find basis for contentions offered by the litigants.  That is the duty of the litigants.  Tex. R.
App. Proc. 38.1(h).  And, should they fail in that regard, they waive their contention. 
Labrador Oil Co. v. Norton Drilling Co., 1 S.W.3d 795, 802-803 (Tex. App.--Amarillo 1999,
no pet.).       

	Also, whether the supposed adversarial posture between appellant and Rivas
adversely affected specific and material instances of counsel's performance also goes
undeveloped.  Rather, appellant merely concludes that it "must have," without offering any
examples of when or how it did.  Given this, we cannot say that he carried his burden as
imposed by Monreal.  

	Accordingly, we affirm the judgment of the trial court

				

									Brian Quinn

									   Justice


Do not publish.
1. Even though appellant identifies his first two issues as pertaining to the legal and factual sufficiency
of the evidence, we find his argument encompasses legal sufficiency only, therefore we only address
whether the evidence was legally sufficient.
2. One commits assault when he intentionally, knowingly, or recklessly causes bodily injury to another. 
Tex. Penal Code Ann. §22.01(a)(1) (Vernon Supp. 2001).  One commits aggravated assault when he
commits assault under §22.01 and causes serious bodily injury to another or uses or exhibits a deadly
weapon during the commission of an assault.  Id. at §22.02(a) &amp; (b).  Here, the indictment read that appellant
and four other named individuals "did then and there intentionally, knowingly, or recklessly cause serious
bodily injury to Sergio Rodriguez, by shooting him with a firearm, a deadly weapon."  Furthermore, through
the charge, the jurors were told that they could convict appellant if they concluded, beyond reasonable doubt,
that he "did then and there intentionally, knowingly, or recklessly cause serious bodily injury to Sergio
Rodriguez, by shooting him with a firearm, a deadly weapon."
3.  Appellant suggests that maybe appellant would not have admitted to firing the shotgun had counsel
not represented Rivas.  Maybe so.  Maybe not.  Maybe this writer would have been a seven foot tall
millionaire professional basketball player had he obeyed his mother and drank his milk when young.  Maybe
appellant would have simply ignored the testimony of his alleged accomplices which identified him as the
shooter.  Maybe if a hearing was held to garner evidence addressing appellant's claim of ineffectiveness,
we would know one way or the other.  Yet, no such hearing was held.  Nor are we afforded Merlin's magic
ball with which to peer into and devine what could have been.  Thus, we can only guess at what would have
happened if the facts before us were not the facts before us.  And, guessing neither plays a part in nor
provides basis for judicial decision making, though some may believe that is all we do.


